
300 Multiple Choices

Multiple Choices
The document name you requested (/attorneys/assets/opinions/appellate/unpublished/a3658-15.pdf) could not be found on this server.
However, we found documents with names similar to the one you requested.Available documents:

/attorneys/assets/opinions/appellate/unpublished/a3158-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a3258-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a3358-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a3618-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a3058-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a3628-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a3678-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a3638-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a3648-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a3650-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a3654-15.pdf (mistyped character)


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